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                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION
                                     www.flmb.uscourts.gov

In re:                                                              Case No: 8:22-bk-00445-CPM
                                                                    Chapter 11
BRADY L. SKINNER,

                 Debtor.
                                          /


                      Supporting Documentation
    •    Statement of Cash Receipts and Disbursements between July 1, 2022 through September
         30, 2022
    •    July 1, 2022 – September 30, 2022 Bank of America Account Activity 1
    •    July 1, 2022 – September 30, 2022 Fifth Third Bank Statement




1
 On August 10, 2022, a transfer of $2,600.00 was made in error to Sean Skinner from the Bank of America Account
ending in 6077 (“Account 6077”). On August 11, 2022, the wire transfer was returned to Account 6077, and the
Reorganized Debtor transferred the $2,600.00 into his DIP Account ending in 6653 at Fifth Third Bank.
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                                    SCHEDULE OF HOUSEHOLD
                             CASH RECEIPTS AND CASH DISBURSEMENTS

                                                                                       Month           Cumulative
                                                                                 07/01/22-09/30/22       Total
CASH - Beginning of Month                                                                   6,046.14         2,266.71

CASH RECEIPTS
 Salary or Cash from Business
 Wages from Other Sources (attach list to this report)
 Interest or Dividend Income                                                                                       0.02
 Alimony or Child Support
 Social Security/Pension/Retirement                                                        17833.00            52567.72
 Sale of Household Assets (attach list to this report)
 Loans/Borrowing from Outside Sources (attach list to this report)                         50000.00         50,000.00
 Other (expense reimbursement)                                                                50.38             51.21

TOTAL RECEIPTS                                                                            67,883.38        102,618.95

CASH DISBURSEMENTS
 Alimony or Child Support Payments
 Charitable Contributions
 Gifts
 Household Expenses/Food/Clothing                                                             783.72           1,556.72
 Household Repairs & Maintenance                                                            1,763.65           1,763.65
 Insurance                                                                                  1,977.83           2435.59
 IRA Contribution
 Lease/Rent Payments
 Medical/Dental Payments                                                                     552.00            552.00
 Mortgage Payment(s)                                                                      11,079.51         29,926.69
 Other Secured Payments                                                                    5,682.50          5,682.50
 Taxes - Personal Property
 Taxes - Real Estate
 Taxes Other (attach schedule)
 Travel & Entertainment                                                                      251.76              360.43
 Tuition/Education
 Utilities (Electric, Gas, Water, Cable, Sanitation)                                        2,567.92           7,827.55
 Vehicle Expenses                                                                           2,671.97           6,788.87
 Vehicle Secured Payment(s)
 U. S. Trustee Quarterly Fees                                                                250.00            500.00
 Professional Fees (Legal, Accounting)                                                    24,324.64         25,124.64
 Other - Bank Charges                                                                        247.50            590.50
 Plan Payments - General Unsecured Creditors                                              19,992.86         19,992.86

Total Household Disbursements                                                             72,145.86        103,102.00

CASH - End of Month (Must equal reconciled bank statement-
Attachment No. 2)                                                                           1,783.66           1,783.66




                                              Monthly Operating Report - Individual                             6D56509.XLS
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                             In re: Brady L Skinner
                           Case No. 8:22-bk-445-CPM

                                                      July-September 2022
EXPENSES
Alimony or Child Support Payments                                     0.00

Charitable Contributions                                              0.00

Gifts                                                                 0.00

Household Expenses/Food/Clothing
Davidson Drugs                                                       10.36
Publix                                                               26.65
USPS                                                                  5.95
Publix                                                               27.79
Ulta Salon                                                          154.00
Publix                                                               26.73
Publix                                                               12.88
Dorothy Lane Market                                                  58.09
Light in the Box                                                     28.01
AVI Be Express                                                        8.80
Publix                                                               14.96
Costco                                                              103.67
Jersey Mikes                                                          9.58
Sheffield's Beer                                                     39.00
Burger King                                                          12.95
Sniki Tiki                                                           75.00
Beaver Avon                                                         107.61
McDonald's                                                            2.45
Anna's Deli                                                           5.34
Burger King                                                          14.93
City Barbeque                                                        38.97
                                         SUBTOTAL                   783.72


Household Repairs & Maintenance
Badger Bob Air                                                      593.25
Badger Bob Air                                                    1,170.40
                                         SUBTOTAL                 1,763.65

Insurance
American Insurance Premium                                        1,811.00
NGIC                                                                 55.61
NGIC                                                                 55.61
NGIC                                                                 55.61
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                                  SUBTOTAL                1,977.83

IRA Contribution                                              0.00

Lease/Rent Payments                                           0.00

Medical/Dental Payments
Dentist                                                     98.00
Dentist                                                     34.00
Dermatologist                                              420.00
                                  SUBTOTAL                 552.00

Mortgage Payments
Select Portfolio Services                                 3,693.17
Select Portfolio Services                                 3,693.17
Select Portfolio Services                                 3,693.17
                                  SUBTOTAL               11,079.51

Taxes - Personal Property                                     0.00

Taxes - Real Estate                                           0.00

Taxes Other                                                   0.00

Travel & Entertainment
Southwest Airlines                                          25.00
Southwest Airlines                                         192.98
Hilton Hotel                                                33.78
                                  SUBTOTAL                 251.76

Tuition/Education                                             0.00

Utilties
FPL                                                        379.05
ATT                                                        183.94
FPL                                                        399.99
Comcast                                                     80.00
T-Mobile                                                   116.61
Sarasota County Utilities                                  117.23
HBO Max                                                     11.27
FPL                                                        426.15
Comcast                                                     80.00
T-Mobile                                                   116.61
HBO Max                                                     11.27
FPL                                                        449.19
Comcast                                                     80.00
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T-Mobile                                                           116.61
                                        SUBTOTAL                 2,567.92

Vehicle Expenses
Costco Gas                                                          52.66
Wells Fargo Car Payment                                            792.85
Sunpass                                                              7.08
Costco Gas                                                          70.82
Parking                                                             20.00
Speedway                                                            18.65
Wells Fargo Car Payment                                            792.85
Sunpass                                                              5.50
Costco Gas                                                          49.74
Costco Gas                                                          36.50
Shell                                                               32.47
Wells Fargo Car Payment                                            792.85
                                        SUBTOTAL                 2,671.97

Vehicle Secured Payments                                             0.00

U.S. Quarterly Fees
Quarterly Fee Payment                                             250.00
                                        SUBTOTAL                  250.00

Professional Fees*
Bush Ross, P.A.                                                 24,324.64
                                        SUBTOTAL                24,324.64



Other Secured Payments*
217 Funding, LLC                                                 5,050.00
US Bank                                                            632.50
                                        SUBTOTAL                 5,682.50

Other Miscellaneous                                                  0.00

Bank Charges, Bank Transfers, Credit Reports
Service Charge                                                     15.50
Overdraft Fee                                                      37.00
Overdraft Fee                                                      37.00
Service Charge                                                     44.50
Service Charge                                                     29.50
BOA Maintenance Fee                                                25.00
BOA Maintenance Fee                                                25.00
BOA Maintenance Fee                                                25.00
Transfer fee                                                        3.00
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         Transfer fee                                                               3.00
         Transfer fee                                                               3.00
                                                    SUBTOTAL                      247.50

         Plan Payment to General Unsecured Creditors*
         JGAR Financial, LLC                                                    3,487.14
         217 Funding, LLC                                                      12,931.42
         Coolidge Wall Co., L.P.A.                                                 13.93
         Dinsmore                                                                   5.69
         Huntington National Bank                                               3,554.68
                                               SUBTOTAL                        19,992.86

         TOTAL EXPENSES                                                        72,145.86

* The Debtor borrowed funds from his former spouse to fund the plan payments, and such proceeds
were disbursed directly to Bush Ross, P.A. to facilitate the distributions contemplated under the plan.
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Withdrawals / Debits    - continued
Date                   Amount            Description
07/22                     37.00          OVERDRAFT/RETURN ITEM(S) FEE
07/25                      5.34          DEBIT CARD PURCHASE AT ANNA'S DELI SIESTA, SIESTA KEY, FL ON 072222 FROM CARD#:
                                         XXXXXXXXXXXX5612
07/25                    792.85          TELEPHONE INITIATED PAYMENT AT WELLS FARGO AUTO FEE & PMTS 5769443616 072522
07/26                    399.99          WEB INITIATED PAYMENT AT FPL DIRECT DEBIT ELEC PYMT 7232801113 WEBI 072622
07/27                     80.00          COMCAST 8535100 442474545 4023161 072722
07/27                    116.61          WEB INITIATED PAYMENT AT T-MOBILE PCS SVC 9394010 072722
07/27                  3,693.17          WEB INITIATED PAYMENT AT SELECT PORTFOLIO RETRY PYMT 0021519731 072722
07/28                     37.00          OVERDRAFT/RETURN ITEM(S) FEE
07/29                     10.36          DEBIT CARD PURCHASE AT DAVIDSON DRUGS #2, SARASOTA, FL ON 072822 FROM CARD#:
                                         XXXXXXXXXXXX5612
07/29                  3,693.17          WEB INITIATED PAYMENT AT SELECT PORTFOLIO SPS 0021519731 072922


Deposits / Credits                                                                                        6 items totaling $15,036.34
Date                  Amount                 Description
07/01                     8.00               SERVICE CHARGE REVERSED
07/01                    42.00               SERVICE CHARGE REVERSED
07/18                 2,600.00               WEB INITIATED PAYMENT AT BANK OF AMERICA P2P BRADY - SKINNER 071822
07/22                 3,693.17               RETURN ITEM/OVERDRAFT
07/28                 3,693.17               RETURN ITEM/OVERDRAFT
07/28                 5,000.00               INCOMING WIRE TRANS 072822


Daily Balance Summary
Date                          Amount            Date                              Amount Date                             Amount

07/01                             6,071.73      07/18                           6,126.18   07/25                           1,545.16
07/05                             5,692.68      07/19                           2,433.01   07/26                           1,145.17
07/06                             3,881.68      07/20                           2,380.35   07/27                         (2,744.61)
07/11                             3,728.07      07/21                         (1,312.82)   07/28                           5,811.56
07/13                             3,712.57      07/22                           2,343.35   07/29                           2,108.03



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We’re here to help
We’re always here to discuss your account or help you explore other products or services for your business. If you
have any questions, please:

    •    Contact your banking relationship team directly.

    •    Call our Business Banking Support Center at 877-534-2264, Monday through Friday, 7 a.m. to 10 p.m.;
         Saturday, 8:30 a.m. to 5 p.m., ET. One of our team members will be happy to help you.

    •    Visit your nearest Fifth Third branch. Use locations.53.com to find a location near you.




Please note: Prices of all services are subject to change upon 30 days’ notice from Bank. Other fees may apply. Please refer to the
Business Product Disclosures.


1
 Any business checking account, savings account, or CD for the same entity may be considered for the combined monthly average balance earn out
option to waive the business checking account standard monthly service charge. Ask a Fifth Third representative for details.
2
 Business credit cards are subject to credit review and approval. $500 monthly credit card spend is calculated by looking at a ll of your Fifth Third Credit
Card accounts and adding the total amount spent on any business credit card statement(s) issued within the last 35 days (excludes Professional Card).
The business entity owning the Fifth Third Business Checking account must be the same business entity owning the Business cre dit cards. Ask a Fifth
Third representative for details.
3
  Other fees may apply. To waive the monthly maintenance fee the business owner/signer must complete a Relationship Consent form. Ask a Fifth Third
representative for details.
4
 Transactions include: checks paid, deposited items including paper and electronic transactions, cash deposits, deposit tickets, ACH addenda, ACH
credits and debits received and Overdraft Protec ion transfers. A deposit ticket and cash deposit each count as separate tran sactions. Transactions in
excess of the included amount per month are subject to a $0.50 per item overage charge.
5
 Service requires customer to activate and to sign Fifth Third Treasury Management agreements and related documentation. Additional fees beyond the
standard monthly service charges may apply. Ask a Fifth Third Representative for details.
6
 ACH activation with Cash Management Essentials is subject to credit review and approval. Upon ACH activations, customer will receive 50 debits and
50 credits per month. Exceeding the ACH transaction limit will result in an additional $0.25 overage fee per transaction. Additional fees beyond the
standard monthly service charges apply.



Additional checking account solutions are but not limited to: Commercial Analyzed, Public Funds and IOLTA/IOTA accounts. If i nterested, please contact
your banker for additional information.


LIDN 7357




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Withdrawals / Debits    - continued
Date                   Amount           Description
08/10                     44.50         SERVICE CHARGE
08/11                     55.61         DEBIT CARD PURCHASE AT NATIONAL GENERAL, 888-781-0585, OR ON 081122 FROM CARD#:
                                        XXXXXXXXXXXX5612
08/15                   426.15          WEB INITIATED PAYMENT AT FPL DIRECT DEBIT ELEC PYMT 7232801113 WEBI 081522
08/22                    27.79          MERCHANT PAYMENT PUBLIX SUPER MAR - 696107 6543 S TAMIAMI TRAIL SARASOTA FL ON 082222
                                        FROM CARD#: XXXXXXXXXXXX561X
08/22                    70.82          MERCHANT PAYMENT - 112313 COSTCO GAS #112 SARASOTA FL ON 082222 FROM CARD#:
                                        XXXXXXXXXXXX561X
08/22                   154.00          MERCHANT PAYMENT - 471770 ULTA SALON #1196 SARASOTA FL ON 082222 FROM CARD#:
                                        XXXXXXXXXXXX561X
08/24                    26.73          MERCHANT PAYMENT PUBLIX SUPER MAR - 409104 8409 S TAMIAMI TRAIL SARASOTA FL ON 082422
                                        FROM CARD#: XXXXXXXXXXXX561X
08/26                    12.88          MERCHANT PAYMENT PUBLIX SUPER MAR - 696178 6543 S TAMIAMI TRAIL SARASOTA FL ON 082622
                                        FROM CARD#: XXXXXXXXXXXX561X
08/29                    20.00          DEBIT CARD PURCHASE AT CMH PARKING, COLUMBUS, OH ON 082822 FROM CARD#:
                                        XXXXXXXXXXXX5612
08/29                    38.97          DEBIT CARD PURCHASE AT CITY BARBEQUE CENT, 6145830999, OH ON 082822 FROM CARD#:
                                        XXXXXXXXXXXX5612
08/29                    58.09          MERCHANT PAYMENT - 397705 DOROTHY LANE MA SPRINGBORO OH ON 082922 FROM CARD#:
                                        XXXXXXXXXXXX561X
08/29                    80.00          COMCAST 8535100 442474545 0723375 082922
08/29                   116.61          WEB INITIATED PAYMENT AT T-MOBILE PCS SVC 0779438 082922
08/31                    18.65          MERCHANT PAYMENT Speedway - 801701 2631 W Alex Bell Rd Moraine OH ON 083122 FROM CARD#:
                                        XXXXXXXXXXXX561X
08/31                   792.85          TELEPHONE INITIATED PAYMENT AT WELLS FARGO AUTO FEE & PMTS 5769443616 083122


Deposits / Credits                                                                                        2 items totaling $7,600.00
Date                  Amount                Description
08/16                 2,600.00              WEB INITIATED PAYMENT AT BANK OF AMERICA P2P BRADY - SKINNER 081622
08/30                 5,000.00              INCOMING WIRE TRANS 083022


Daily Balance Summary
Date                          Amount           Date                              Amount Date                             Amount

08/01                            1,733.72      08/11                           1,322.83   08/26                          3,204.46
08/03                            1,515.74      08/15                             896.68   08/29                          2,890.79
08/08                            1,489.09      08/16                           3,496.68   08/30                          7,890.79
08/09                            1,434.21      08/22                           3,244.07   08/31                          7,079.29
08/10                            1,378.44      08/24                           3,217.34



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Withdrawals / Debits    - continued
Date                   Amount             Description
09/22                     39.00           DEBIT CARD PURCHASE AT Sheffield's Beer a, Chicago, IL ON 092022 FROM CARD#: XXXXXXXXXXXX5612
09/23                     12.95           DEBIT CARD PURCHASE AT BURGER KING #27832, CHICAGO, IL ON 092122 FROM CARD#:
                                          XXXXXXXXXXXX5612
09/23                    14.96            MERCHANT PAYMENT PUBLIX SUPER MAR - 409111 8409 S TAMIAMI TRAIL SARASOTA FL ON 092322
                                          FROM CARD#: XXXXXXXXXXXX561X
09/23                    49.74            MERCHANT PAYMENT - 112313 COSTCO GAS #112 SARASOTA FL ON 092322 FROM CARD#:
                                          XXXXXXXXXXXX561X
09/23                   420.00            DEBIT CARD PURCHASE AT ABRAMS DERMATOLOGY, 941-9262300, FL ON 092222 FROM CARD#:
                                          XXXXXXXXXXXX5612
09/26                    36.50            MERCHANT PAYMENT - 112313 COSTCO GAS #112 SARASOTA FL ON 092622 FROM CARD#:
                                          XXXXXXXXXXXX561X
09/26                    75.00            DEBIT CARD PURCHASE AT SNIKI TIKI, SARASOTA, FL ON 092322 FROM CARD#: XXXXXXXXXXXX5612
09/27                    32.47            MERCHANT PAYMENT - 283601 SHELL SERVICE S POLK CITY FL ON 092722 FROM CARD#:
                                          XXXXXXXXXXXX561X
09/27                    80.00            COMCAST 8535100 442474545 7525169 092722
09/27                   116.61            WEB INITIATED PAYMENT AT T-MOBILE PCS SVC 7588069 092722
09/27                   792.85            TELEPHONE INITIATED PAYMENT AT WELLS FARGO AUTO FEE & PMTS 5769443616 092722
09/29                   107.61            MERCHANT PAYMENT - 042613 CITY-MARK 0260 BEAVER AVON CO ON 092922 FROM CARD#:
                                          XXXXXXXXXXXX561X
09/30                    33.78            DEBIT CARD PURCHASE AT TRU BY HILTON DENV, DENVER, CO ON 092922 FROM CARD#:
                                          XXXXXXXXXXXX5612
09/30                   103.67            MERCHANT PAYMENT - 063713 COSTCO WHSE #06 GYPSUM CO ON 093022 FROM CARD#:
                                          XXXXXXXXXXXX561X


Deposits / Credits                                                                                           2 items totaling $2,550.38
Date                   Amount               Description
09/07                    0.38               DEBIT CARD RETURN AT RBT JERSEY MIKES O, EasySavings, NY ON 090722 TO CARD#:
                                            XXXXXXXXXXXX5612
09/19                 2,550.00              WEB INITIATED PAYMENT AT BANK OF AMERICA P2P BRADY - SKINNER 091922


Daily Balance Summary
Date                             Amount        Date                               Amount Date                               Amount

09/01                            3,352.61      09/13                            2,641.25   09/23                            3,035.01
09/02                            3,343.81      09/14                            2,192.06   09/26                            2,923.51
09/06                            2,737.25      09/19                            4,742.06   09/27                            1,901.58
09/07                            2,737.63      09/20                            3,571.66   09/29                            1,793.97
09/12                            2,670.75      09/22                            3,532.66   09/30                            1,656.52



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